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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 0:23-cv-61354

   PROGRESSIVE        EXPRESS
   INSURANCE COMPANY,

         Plaintiff,

   vs.

   RASIER-DC, LLC, a foreign limited
   liability    company;       UBER
   TECHNOLOGIES, INC., a foreign
   corporation;    and       KARINA
   MONASTERIO, individually,

        Defendants.
   ____________________________/

                  PROGRESSIVE’S MOTION FOR SUMMARY JUDGMENT

         Plaintiff/Counter-Defendant, Progressive Express Insurance Company (“Progressive”), by
  and through its attorneys, Morgan & Akins, PLLC, in accordance with Rules 7.1 and 56.1 of the
  Local Rules for the United States District Court for the Southern District of Florida, moves this
  court pursuant to Rule 56 of the Federal Rules of Civil Procedure, for the entry of final summary
  judgment: (i) in its favor and against the Defendants, Rasier-DC, LLC (“Rasier”), Uber
  Technologies, Inc. (“Uber”), and Karrina Monasterio (“Monasterio”), in connection with claims
  asserted in its “Amended Complaint for Declaratory Judgment,” [DE 12]; (ii) in its favor and
  against the Counter-Plaintiff, Monasterio, with respect to all claims asserted in her “Answer,
  Demand for Jury Trial, Affirmative Defenses, Crossclaim, and Counterclaim,” [DE 22]; and (iii)
  for the entry of a final judgment declaring Progressive’s rights, duties and obligations with respect
  to the policy involved as further set forth, below. In support thereof, Progressive states as follows:
         1.      On July 26, 2023, Progressive filed the operative “Amended Complaint for
  Declaratory Judgment,” [DE 12], in which it sought a declaration concerning its rights, duties and
  obligations under an insurance policy issued to Rasier, for which Uber Technologies was a named
  additional insured, and pursuant to which Monasterio was seeking uninsured/under insured
  motorist coverage and benefits (“UM/UIM Coverage”). [DE 12].
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         2.      In particular, Progressive sought a declaration that: (i) Florida’s TNC Statute, Fla.
  Stat. § 627.748 did not preclude an insured from rejecting or an insurer from not providing
  UM/UIM Coverage; (ii) the insurance policy issued by Progressive did not provide UM/UIM
  Coverage; (iii) the Policy issued by Progressive did not insure a specifically identifiable
  automobile, generally or that operated by Monasterio, specifically; (iv) that Progressive complied
  with and satisfied its statutory obligations under either Fla. Stat. § 627.727(1) or (2) to effectuate
  Rasier’s intent to reject UM/UIM Coverage; and, therefore, (vi) the Policy issued by Progressive
  does not provide UM/UIM Coverage for the claims presented by Monasterio in connection with
  or arising from her May 6, 2022 incident or her previously filed lawsuit. [DE 12].
         3.      On September 15, 2023, Monasterio filed her “Answer, Demand for Jury Trial,
  Affirmative Defenses, Crossclaim and Counterclaim,” (the “Counterclaim”) in which she denied
  the material allegations set forth in the Amended Complaint for Declaratory Judgment and asserted
  a Counterclaim against Progressive. [DE 22]. As reflected in that pleading, Monasterio essentially
  contended that Progressive, as the insurer, was mandated by Florida’s TNC Statute to provide
  UM/UIM Coverage, that such coverage could not be rejected, and that, therefore, she was entitled
  to a declaration that, in pertinent part, Progressive was obligated to provide $1 Million in UM/UIM
  Coverage. [DE 22].
         4.      Rule 56 of the Federal Rules of Civil Procedure provides that summary judgment
  shall be granted if the movant “shows that there is no genuine dispute as to any material fact and
  the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56.
         5.      Progressive has, consistent with, and as required by, Rule 56.1 of the Local Rules
  for the United States District Court for the Southern District of Florida, contemporaneously filed
  its “Statement of Material Facts.” Progressive adopts and incorporates by reference its Statement
  of Material Facts in connection with this Motion for Summary Judgment.
         6.      As reflected in the Statement of Material Facts, there are no genuine disputes
  concerning any material fact that would preclude entry of judgment as a matter of law.
         7.      Progressive has, consistent with, and as required by, Rule 7.1 of the Local Rules
  for the United States District Court for the Southern District of Florida, contemporaneously filed
  “Progressive’s Memorandum in Support of Motion for Summary Judgment.” Progressive adopts
  and incorporates by reference the points, arguments, and authorities set forth in “Progressive’s



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  Memorandum in Support of Motion for Summary Judgment,” in connection with this Motion for
  Summary Judgment.
         8.       As reflected in “Progressive’s Memorandum in Support of Motion for Summary
  Judgment,” there is no genuine issue of material fact and Progressive is entitled to judgment as a
  matter of law with respect to all claims asserted in its Amended Complaint for Declaratory
  Judgment, and against Monasterio in connection with all claims asserted in her Counterclaim.
         WHEREFORE, Defendant, Progressive Express Insurance Company, respectfully requests
  that this Court enter an order and appropriate judgment:
         (i)      Granting this motion;
         (ii)     Entering final judgment in its favor and against the Defendants, Rasier-DC, LLC,
                  Uber Technologies, Inc., and Karina Monasterio, with respect to all claims asserted
                  in the Amended Complaint for Declaratory Judgment [DE 12];
         (iii)    Entering judgment in favor of Progressive Express Insurance Company and against
                  Karina Monasterio with respect to all claims asserted in the Counterclaim [DE 22];
         (iv)     Declare that Florida’s TNC statute, did not preclude Progressive from providing a
                  policy that did not provide UM/UIM Coverage;
         (v)      Declare that the Period 2-3 Policy does not provide UM/UIM coverage to any
                  person or entity, including, but not limited to, Defendants, Rasier-DC, LLC, Uber
                  Technologies, Inc., or Karina Monasterio;
         (vi)     Declare that the Period 2-3 Policy, specifically, does not provide UM/UIM
                  Coverage for Karina Monasterio, specifically, for the claims asserted in her
                  previously filed lawsuit or otherwise arising from the May 6, 2022 incident;
         (vii)    Declare that the Period 2-3 Policy did not insure a specifically identifiable
                  automobile or Karina Monasterio’s Honda, specifically;
         (viii)   Declare that Progressive complied with its obligation to make available, as part of
                  the application for the Period 2-3 Policy, UM/UIM coverage, UM/UIM Coverage
                  in the amount equal to the bodily injury limits or $1 Million, to the applicant, Rasier
                  and that the applicant, Rasier-DC, LLC, declined such coverage;
         (ix)     Alternatively declare that Progressive obtained Rasier-DC rejection of
                  UM/Coverage in writing and as required by Fla. Stat. § 627.727(1); and



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         (x)     For such other and further relief as this Court deems just and proper to effectuate
                 such declarations and judgments.




   Dated: January 25, 2024                      Respectfully submitted,


                                                /s/ Patrick K. Dahl
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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the Clerk
  of Court using the CM/ECF system on January 25, 2024, and the foregoing document is being
  served this day on all counsel or parties of record on the Service List below, either via transmission
  of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
  counsel or parties who are not authorized to receive Notices of Electronic Filing.

                                         ___/s/ Patrick K Dahl________
                                         Patrick K. Dahl, Esquire




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